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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UMG RECORDINGS INC.,, et al.,

Plaintiffs, Civil Action No. 19-17272 (MAS) (TJB)

v. MEMORANDUM OPINION

RCN TELECOM SERVICES, LLC, et al.,

Defendants.

 

 

SHIPP, District Judge

This matter comes before the Court upon two Motions to Dismiss Counterclaims. The first
motion is Plaintiffs UMG Recordings, Inc., Capitol Records, LLC, Sony Music Entertainment,
Arista Records LLC, Arista Music, LaFace Records LLC, Sony Music Entertainment US Latin
LLC, Volcano Entertainment JI], LLC, Zomba Recording LLC, Atlantic Recording Corporation,
Bad Boy Records LLC, Elektra Entertainment Group Inc., Fueled By Ramen LLC, Maverick
Recording Company, The All Blacks U.S.A., Inc., Warner Music Nashville LLC, Warner Records
Inc., Warner Records/Sire Ventures LLC, WEA International Inc., and Recording Industry of
America’s (“RIAA”) (collectively “Plaintiffs” or “UMG”) Motion to Dismiss Counterclaims.
(ECF No. 122.) Defendants RCN Telecom Services, LLC, RCN Telecom Services of New York,
L.P., RCN Capital Corp., RCN Telecom Services of Philadelphia, LLC, RCN Telecom Services
of Massachusetts, LLC, Starpower Communications, LLC, RCN Management Corporation, RCN
ISP, LLC, RCN Digital Services, LLC, RCN NY LLC I, RCN Telecom Services (Lehigh), LLC,

RCN Telecom Services of Illinois, LLC, 21st Century Telecom Services, Inc., and RCN Cable TV
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of Chicago, Inc. (collectively “Defendants” or “RCN”) opposed (ECF No. 135), and Plaintiffs
replied. (ECF No. 139.) The second motion is Counterclaim Defendant Rightscorp’s Motion to
Dismiss Counterclaims. (ECF No. 136.) RCN opposed (ECF No. 143) and Rightscorp replied.
(ECF No. 144.) The Court has carefully considered the parties’ submissions and decides the matter
without oral argument pursuant to Local Civil Rule 78.1. For the reasons set forth below, the Court
grants both Plaintiffs’ and Rightscorp’s Motions to Dismiss under Federal Rule of Civil Procedure
12(b)(6).
I. BACKGROUND

Plaintiffs are record companies that produce, manufacture, distribute, sell, and license the
majority of commercial sound recordings in the United States. (Pls. Moving Br. 5, ECF No. 122-
1.) Plaintiffs’ Complaint alleges that RCN, an internet service provider (“ISP”) with various
subsidiaries across the northeast United States, and its parent company, Patriot Media Consulting
Inc. (“Patriot”), encouraged and profited from widespread copyright infringement by their end
users. (Compl. 3-5, ECF No. 1.) Plaintiffs brought an action against Defendants and Patriot! for
Contributory Copyright Infringement under 17 U.S.C. § 101 et seq. and Vicarious Copyright
Infringement under 17 U.S.C. § 101 et seq., seeking injunctive relief and damages, (/d. at 5.)

Defendants responded with a counterclaim alleging that Plaintiffs and Rightscorp
(collectively “Counterclaim Defendants”) violated California’s Unfair Competition Law (“UCL”)
by “sending millions of unsupported emails accusing RCN’s customers of BitTorrent-based
copyright infringement, while intentionally destroying the evidence necessary to determine

whether any of those accusations were true.” (Am. Answer and Countercompl. at 17, ECF No.

 

' Patriot’s Motion to Dismiss was granted on August 31, 2020. (ECF No. 89.)
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104.) Defendants assert that, “the RIAA and the [record [IJabels have partnered with Rightscorp
to assert copyright infringement claims against RCN.” (/d. at 18.)

Rightscorp is a technology company engaged in the business of detecting online copyright
infringement. (/d. at 33; Rightscorp’s Moving Br. 1, ECF No. 136-1.) According to Rightscorp,
when it detects an instance of infringement it records the IP address of the user, the date and time,
the name of the copyrighted material, the owner of the copyright, and sends an infringement
notification to the ISP of the subscriber via e-mail, asking the ISP to forward the notice to its
subscriber. (Am. Answer and Countercompl. 33; Rightscorp’s Moving Br. 3.} Plaintiffs and RCN
agree that Plaintiffs have never hired Rightscorp to monitor or send infringement notifications on
their behalf. (Am. Answer and Countercompl. 35; Pls." Moving Br. 23.) According to RCN,
however, Rightscorp has contracted with Plaintiffs to provide them infringement notifications sent
to RCN to use as evidence in this action and other copyright actions. (Defs.’ Opp’n Br. 8-9, ECF
No. 135.) RCN alleges that Rightscorp began sending RCN infringement notifications in or around
2011. (Am. Answer and Countercompl. 33.)

A. Rightscorp’s Infringement Notifications

Defendants allege that “[nJone of Rightscorp’s emails to RCN regarding alleged copyright
infringement complied with RCN’s [Digital Millennium Copyright Act (*DMCA”)] policy” or
“industry-standard practices.” (Am. Answer and Countercompl. 30, 43.) This includes the
requirement that “each notification be in a [Pretty Good Privacy encryption] format or a compatible
standard and must be digitally signed to verify the identity of the sender.” (Je. at 30.)

Because they do not comply with RCN’s DMCA policy, Rightscorp’s notifications to RCN
allegedly trigger an automated response from RCN “informing Rightscorp that the email was non-

compliant and directing Rightscorp to RCN’s DMCA policy. (/d. at 43.) Nevertheless, Rightscorp,
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according to Defendants, has continued to send RCN non-compliant email allegations for years.”
(/d.) Non-compliant infringement notifications are catalogued in RCN’s DMCA System. (dd. at
31.)

RCN further alleges that Rightscorp destroys, or fails to preserve, crucial evidence of the
infringement, “making it impossible for RCN to vet the accuracy of any particular accusation.”
(Defs.’ Opp’n Br. 10.) RCN alleges that Rightscorp fails to preserve the same data collected by
the monitoring entity that serves the RIAA, including, “[t]he percentage of file shared; [a]ll
network packets exchanged with the target IP address during communication session; [a] log of all
control communication with the target; and [a]ll bitfield data.” (Am. Answer and Countercompl.
41.) RCN claims that “Rightscorp’s destruction of this evidence violated the RIAA’s, the [r]ecord
[IJabels’, and Rightscorp’s duties to preserve relevant evidence” in anticipation of litigation. (/d.
at 42.)

B. RCN’s Alleged Damages

According to Defendants, RCN “has incurred—and continues to incur—substantial
expense in connection with its DMCA System. The design and implementation of RCN’s DMCA
System required a significant investment of employee time and other resources, and there are
substantial ongoing costs associated with operating and maintaining the System.” (/d. at 31.) RCN
also claims to have incurred costs:

in evaluating and protecting itself against the accusations at issue includ[ing], but. . .

not limited to, litigation costs .. .. RCN has also incurred legal costs associated

with evaluating the proper response to Rightscorp’s notices and with respect to

various discrete aspects of RCN’s DMCA system.

(Defs.’ Opp’n Br. 29.) RCN seeks as a remedy for these alleged harms:
[aJn order under California Business & Professions Code § 17203 permanently

enjoining Counterclaim Defendants from sending, or consenting to, directing, or
otherwise authorizing the sending of, copyright infringement allegations to RCN
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without (1) complying with RCN’s DMCA policy with respect to each email

containing an allegation of copyright infringement, and (2) storing and preserving

all information or data upon which such allegation is based, at least until the right

to pursue any corresponding legal claim has expired.

(Am. poerer and Countercompl. 51.) RCN also requests restitution under California Business &
Professions Code § 17203, and “reasonable attorneys’ fees, costs, and expenses in connection with
this action.” (/d. at 51-52.)

In response, Counterclaim Defendants contend that (1) Defendants’ suit is preempted by
Section 512 of the DMCA; (2) RCN lacks standing under California’s Unfair Competition Law;
and (3) “RCN fails to allege a right to any remedy under the UCL against Plaintiffs or the RIAA.”
(Pls.” Moving Br. 2-4.)

II. LEGAL STANDARD

District courts undertake a three-part analysis when considering a motion to dismiss
pursuant to Rule 12(b)(6). Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011). “First, the court
must ‘tak[e] note of the elements a plaintiff must plead to state a claim.’” Jd. (quoting Ashcroft v.
Iqbal, 336 U.S. 662, 675 (2009)) (alteration in original). Second, the court must accept as true all
of the plaintiff's well-pled factual allegations and “construe the complaint in the light most
favorable to the plaintiff.” Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (citation
omitted), In doing so, the court is free to ignore legal conclusions or factually unsupported
accusations that merely state, “the-defendant-unlawfully-harmed-me.” /gba/, 556 U.S. at 678
(citing Bell At. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “[M]ere restatements of the elements
of [a] claim[ ] .. . are not entitled to the assumption of truth.” Burtch v. Milberg Factors, Inc., 662

F.3d 212, 224 (3d Cir. 2011) (alterations in original) (quotation and citation omitted). Finally, the

court must determine whether “the facts alleged in the complaint are sufficient to show that the
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plaintiff has a ‘plausible claim for relief.’” Fowler, 578 F.3d at 211 (quoting Iqbal, 556 U.S. at
679).
ill. DISCUSSION

A. Rule 9(b)

As a threshold matter, Rightscorp and RCN? dispute whether the Court must apply the
heightened standard of Federal Rule of Civil Procedure 9(b) to RCN’s UCL claim. Rule 9(b)
requires that, when fraud is alleged, “a party must state with particularity the circumstances
constituting fraud... .” Fed. R. Civ. P. 9(b). The allegations must be “specific enough to give
defendants notice of the particular misconduct . . . so that they can defend against the charge and
not just deny that they have done anything wrong.” Kearns vy. Ford Motor Co., 567 F.3d 1120,
1124 (9th Cir. 2009) (citations and internal quotation marks omitted).

Rightscorp argues that Rule 9(b) applies to RCN’s entire counterclaim because RCN’s
UCL claim “sounds in fraud.” (Rightscorp’s Moving Br. 8) (citing Vess v. Ciba-Geigy Corp. USA,
317 F. 3d 1097 (9th Cir. 2003); accord Johansson v. C. Garden & Pet Co., 804 Supp. 2d 257, 263
(D.N.J. 2011)). Rightscorp points to RCN’s allegation that Rightscorp and UMG engaged in
“fraudulent business practices,” and its accusations that Rightscorp potentially submitted false
notices and destroyed evidence concerning the accuracy of its notices. (Rightscorp’s Moving Br.
8.) Rightscorp notes that RCN also describes Rightscorp’s conduct as “misleading” and “a sham .
.. builton...a cavalier approach to—if not outright disregard for—the truth.” (Am. Answer and
Countercompl. 18.) RCN counters that Rule 9(b) does not apply to its claim as a whole because

“the gravamen of RCN’s UCL claims is not fraud.” (Defs.” Rightscorp Opp’n Br. 8, ECF No. 143.)

 

? UMG does not argue that Rule 9(b) applies to RCN’s counterclaim. (See generally Pls.” Moving
Br.)
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Instead, RCN alleges, Plaintiffs’ and Rightscorp’s conduct is unfair because they have made it
impossible for any party to determine whether their infringement notices are, in fact, fraudulent.
(/d. at 9-10.}

The Court finds that while RCN’s pleadings do allege that Counterclaim Defendants may
have engaged in fraud, RCN does not “allege a unified course of fraudulent conduct and rely
entirely on that course of conduct as the basis of [the UCL] claim.” Kearns, 567 F.3d at 1125.
Instead, RCN alleges that Counterclaim Defendants engaged in unfair business practices that
conceal potential acts of fraud, including spoliation of evidence and sending large volumes of
infringement notices without verifying their accuracy. (Am. Answer and Countercompl. 21.)
RCN’s allegations are thus not based exclusively on fraud, which would require that each act be
pled with particularity. The appropriate approach in such circumstances is “to disregard averments
of fraud not meeting Rule 9(b)’s standard and then ask whether a claim has been stated.” Lone Star
Ladies Inv. Club v. Schlotzsky’s Inc., 238 F.3d 363, 368 (5th Cir. 2001). Accordingly, the Court
will only apply Rule 9(b)’s heightened pleading standard to those aspects of RCN’s claim alleging
fraudulent conduct, and will not apply Rule 9{b) to the statutory standing analysis below.

B. Statutory Standing Under California’s Unfair Competition Law

Under California’s Unfair Competition Law, California Business & Professions Code
§17200, standing is “substantially narrower than federal standing under [A)]rticle III.” Awikset
Corp. v Super. Ct., 246 P.3d 877, 886 (Cal. 2011). To satisfy this standing requirement, the
California Supreme Court requires a plaintiff to “(1) establish a loss or deprivation of money or
property sufficient to qualify as injury in fact, i.e. economic injury, and (2) show that the economic
injury was the result of, i.e., caused by the unfair business practice . . . that is the gravamen of the

claim.” Aguilera v. Matco Tools Corp., No. 19-01576, 2020 WL 1188142, at *7 (S.D. Cal. Mar.
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12, 2020) (emphasis omitted) (citing Kwikset Corp., 246 P.3d at 885). RCN must therefore plead
an economic injury caused by Rightscorp’s allegedly unfair business practices. ?

Here, the Court finds that RCN fails to adequately allege standing as to either Rightscorp
or Plaintiffs because RCN has not pled a cognizable economic injury under the UCL. RCN asserts
a number of claimed injuries based on Counterclaim Defendants’ alleged conduct, none of which
is sufficient to confer standing.

RCN alleges first that, “[t}]o deal with the huge volume of email RCN receives regarding
alleged instances of copyright infringement, RCN designed and implemented a system for
processing, cataloguing, and informing customers of such allegations (“DMCA System”).” (Am.
Answer and Countercompl. 31.) RCN acknowledges that it receives infringement notifications
from various monitoring entities including Rightscorp. (Am. Answer and Countercompl. 43.) At
no point does RCN allege that it created its DMCA System specifically because of Rightscorp’s
infringement notifications or that Rightscorp’s infringement notifications imposed any additional
costs on RCN.

These costs cannot therefore be fairly attributable to either Rightscorp or Plaintiffs. “When
a UCL action is based on an unlawful business practice .. . there must be a causal connection
between the harm suffered and the unlawful business activity. That causal connection is broken

when a complaining party would suffer the same harm whether or not a defendant complied with

the law.” Daro v. Super. Ct., 151 Cal. App. 4th 1079, 1099 (2007).

 

3 Because the Court finds that RCN has not pled a cognizable injury sufficiently to confer standing,
it does not reach the question, briefed at length by the parties, whether Plaintiffs sufficiently
participated in Rightscorp’s allegedly wrongful conduct to be held liable. (See Pls.” Moving Br.
22-24; Defs.’ Opp’n Br. 26—29; Pls.” Reply Br. 9-11.)

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RCN also alleges that, “there are substantial ongoing costs associated with operating and
maintaining the [DMCA] System.” (Am. Answer and Countercompl. 31.) RCN does not
specifically allege, however, that any of these costs are due to Rightscorp’s infringement
notifications. Such non-specific allegations are insufficient to confer statutory standing on RCN.

Finally, RCN claims that it “has also incurred and continues to incur substantial expense
in evaluating and defending against Rightscorp’s copyright infringement allegations, including its
defense of the Record Labels’ claims in this matter.” (Am. Answer and Countercompl. 117.) While
the parties do not brief the issue in detail, “California district courts are split on whether economic
injury resulting from litigation can confer standing [under the UCL].” TCL Comme'ns Tech.
Holdings, Ltd. v. Telefonaktienbolaget LM Ericsson, No. 14-0341, 2016 WL 7049263, at *3 (C.D.
Cal. Aug. 9, 2016.)

One set of cases finds that “attorney’s fees accrued in past actions brought alleging
violation of the UCL are sufficient to establish standing.” See Khan v. K2 Pure Sols., LP, 981 F.
Supp. 2d 860, 863 (N.D. Cal.), order vacated on reconsideration on other grounds, No. 12-05526,
2013 WL 6235572 (N.D. Cal. Dec. 2, 2013); see also Koller v. West Bay Acquisitions, LLC, No.
12-00117, 2012 WL 2862440 (N.D. Cal. July 11, 2012); Janti v. Encore Cap. Grp., Inc., No. 09-
CV-1969, 2010 WL 3058260, at *7 (S.D. Cal. Aug. 3, 2010); Tourgeman v. Collins Fin. Servs.,
Inc., No. 08-CV-1392, 2009 WL 6527758, at *7-8 (S.D. Cal. Nov. 23, 2009).

None of these cases, however, included an analysis of the Noerr-Pennington doctrine, That
doctrine provides absolute immunity from statutory liability when petitioning the government for
redress. Sosa v. DIRECTV, Inc., 437 F.3d 923, 929 (9th Cir. 2006); accord Pro. Real Est. Invs.,
Ine. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 56 (1993). Petitioning the government includes

using courts to advocate for one’s business and economic interests. Cal. Motor Transp. Co. v.
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Trucking Unlimited, 404 U.S. 508, 510-11 (1972). In fact, the immunity extends “not only [to]
petitions sent directly to the court in the course of litigation, but also ‘conduct incidental to the
prosecution of the suit... . ’” Sosa, 437 F.3d at 934 (quoting Columbia Pictures Indus., Inc. v.
Pro, Real Est. invs., Inc., 944 F.2d 1525, 1528-29 (9th Cir. 1991).

“When courts have directly considered the doctrine, they have found that injury flowing
solely from previous, protected litigation activity cannot be the basis of standing under the UCL.”
TCL Comme 'ns Tech. Holdings Ltd., 2016 WL 7049263 at *3. See James R. Glidewell Dental
Ceramics, Inc. v. Keating Dental Arts, Inc., No. 11-1309, 2013 WL 655314, at *13-14 (C.D. Cal.
Feb. 21, 2013) (“[BJecause [d]efendant’s only attempt to establish economic injury rests on the
allegation that [plaintiff's lawsuit caused it to lose business, the [cJourt finds that the .. . Noerr~
Pennington doctrine appl[ies]”). See also Apple, inc. v. Motorola Mobility, Inc., 886 F. Supp. 2d
1061, 1076 (W.D. Wis. 2012) (finding the defendant immune from unfair competition claims when
the purported injury was attorney's fees resulting from defending a patent litigation suit),

RCN does not dispute that the Noerr-Pennington doctrine precludes litigation costs as a
basis for UCL standing. Instead, RCN asserts that its legal costs “include, but are not limited to,
litigation costs.” (Defs.’ Opp’n Br. 29) (emphasis omitted). “For instance, RCN has also incurred
legal costs associated with evaluating the proper response to Rightscorp’s notices and with respect
to various discrete aspects of RCN’s DMCA system. These legal costs do not implicate Noerr-
Pennington, as they were not connected to any pending or threatened litigation against RCN.” (/d.)

The Court finds that these allegations are insufficient to establish that RCN suffered a
cognizable injury as a result of Rightscorp’s (or Plaintiffs’) alleged misconduct. RCN has not
alleged sufficient details for the Court to determine that these “legal costs associated with

evaluating the proper response to Rightscorp’s notices” were not investigation conducted in
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preparation for filing the present counterclaim. See Two Jinn v. Gov't Payment Serv., Inc., 223
Cal. App. 4th 1321, 1334 (2015) (finding pre-litigation investigation costs insufficient to support
a UCL claim). Further, “[p]laintiffs cannot establish standing to pursue a UCL claim based on
expenses incurred in order to bring their UCL claim. If they could, the requirement that individuals
show they lost money or property ‘as a result’ of the challenged practice in order to have standing
to sue under the UCL would be meaningless.” Robinson v. HSBC Bank USA, 732 F. Supp. 2d 976,
989 (N.D. Cal. 2010); accord Cordon v. Wachovia Mortg., 776 F. Supp. 2d 1029, 1039 (N.D. Cal.
2011) (“[uJnder [pJlaintiff's reasoning, a private plaintiff bringing a UCL claim automatically
would have standing merely by filing suit.”). Without facts showing that RCN suffered a
qualifying injury in fact, the Court finds RCN has not established standing under the UCL.
Accordingly, Counterclaim Defendants’ Motions to Dismiss RCN’s Counterclaim are granted.
Because the Court finds that RCN fails to state a claim as to either Plaintiffs or Rightscorp,
it does not reach Counterclaim Defendants’ additional arguments that RCN’s claim is preempted
by the DMCA, and that RCN fails to plead entitlement to a remedy under the UCL. (Pls.” Opp'n

Br. 13-18, 24-26, ECF No. 122-1); (Rightscorp’s Opp’n Br. 26-27; ECF No. 136-1.)
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IV. CONCLUSION
For the foregoing reasons, the Court grants Counterclaim Defendants’ Motions to Dismiss
based on lack of statutory standing, with leave to amend. The Court will enter an Order consistent

with this Memorandum Opinion.

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MICHAEL A. th:

UNITED STATES DISTRICT JUDGE
